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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action Number 1:19-cv-01228

 John Williams,
       Plaintiff,

 v.

 Midland Credit Management, Inc,
       Defendant.
 ______________________________________________________________________________
                                  COMPLAINT
 ______________________________________________________________________________


      1. Plaintiff is an individual consumer who resides in Thornton, CO.

      2. Defendant Midland Credit Management, Inc (“Midland”) is a “debt collector” as
         defined in the FDCPA, because they use the U.S. mails in interstate commerce in
         their business, the principal purpose of which is collecting debts.

      3. A different individual who has the same name as Plaintiff, but who has a
         different social security number (“SSN”) and address than Plaintiff, had a Costco
         Citibank card *0821. That individual resides in Lakewood, Washington.

      4. Citibank sold credit card *0821 to Midland for pennies on the dollar pursuant to
         a standard forward flow agreement, which expressly disclaimed the accuracy or
         collectability to Midland. Citibank warned Midland in the forward flow
         agreement that some of the accounts sold would not be due and owing.

      5. In or around December 2018, Midland send a letter to Plaintiff demanding
         payment of ~$13,000 for the Costco Citibank card *0821. Midland called Plaintiff
         soon afterwards, and he told them that he never had a Costco card, and that the
         debt was not his. The Midland representative was argumentative with Plaintiff
         and would not hear his side of the story.

      6. Midland again called Plaintiff to collect on the debt, and Plaintiff again explained
         the debt was not his. Plaintiff asked for the last 4 digits of the SSN on file, and
         the Midland representative told him it was *3007. Plaintiff told Midland that was
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       not his SSN, to which the Midland representative responded “I guess this isn’t
       your account after all.”

    7. A few days later, Midland called Plaintiff’s wife on her cell phone, and
       demanded that Plaintiff make a payment on the debt. Plaintiff’s wife again told
       Midland they had the wrong John E. Williams. During the call, Midland again
       stated that the last 4 digits of the SSN on the account were *3007, and Plaintiff’s
       wife again told Midland that was not Plaintiff’s SSN.

    8. On February 1, 2019, Midland sent Plaintiff a letter demanding payment of
       $13,310, and threatened Plaintiff that they may be turning the account over to
       one of their attorneys to sue Plaintiff. The letter encouraged Plaintiff to make a
       payment by March 13, 2019 to avoid the account being sent to an attorney.

    9. On March 1, 2019, Midland sent a letter to Plaintiff informing him that they had
       completed their investigation, and had determined the debt to be valid. Midland
       attached a copy of a letter from Citibank to the other John Williams, which was
       addressed to the other John Williams at 2614 84th St Ct S, Apt F, Lakewood, WA
       98499 – an address that Plaintiff has never lived at or been associated with.
       Plaintiff his lived in Colorado for over 30 years.

    10. On March 22, 2019, Midland sent Plaintiff a letter demanding payment in the
        amount of $13,310.88, and again warned Plaintiff that failure to make a payment
        by April 17, 2019 might result in Midland turning the file over to their attorneys
        to sue Plaintiff.


          COUNT I, FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)


    11. Plaintiff re-alleges and incorporates the above paragraphs as if fully set out
        herein.

    12. Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3), because Midland
        alleged that Plaintiff was obligated to pay the debt.

    13. The money that Midland sought to collect from Plaintiff was a “debt” as defined
        in 15 U.S.C. § 1692a(5), because the other John Williams that incurred the debt
        purchased the majority of the goods at Costco for his own personal use.
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    14. Midland violated the FDCPA in the following ways:

           I.   Misrepresenting the character and status of the debt by collecting from the
                wrong John Williams;
          II.   Engaging in generally unfair and deceptive conduct by collecting money
                from the wrong John Williams;
         III.   Threatening to report false information to the credit bureaus – Midland
                threatened to report this account on Plaintiff’s credit report, which would
                be false because the debt was incurred by a different John Williams;
         IV.    The use of any false representation or deceptive means to collect or
                attempt to collect any debt or to obtain information concerning a
                consumer.

    15. Midland’s violations of the FDCPA caused Plaintiff actual damages to be
        determined at trial, including but not limited to emotional distress, worry, stress,
        and inconvenience.

    16. Plaintiff seeks maximum statutory damages pursuant to the FDCPA, together
        with attorney fees and costs.


 WHEREFORE, Plaintiff prays for the following relief:

    a.   Actual damages to be determined at trial;
    b.   Statutory damages of $1,000;
    c.   Attorney fees and costs;
    d.   For such other relief as may be proper.



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 PLAINTIFF HEREBY DEMANDS TRIAL BY JURY
